                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,
                                                              CASE NO. 1:21-cr-40
v.
                                                              HON. ROBERT J. JONKER
CHRISTOPHER ALLAN BODEN and
DANIEL REYNOLD DEJAGER,

               Defendants.
                                        /


                            ORDER AMENDING BOND CONDITIONS

        At the conclusion of defendant Boden’s change of plea hearing on October 18, 2021, defense

counsel made an oral motion to amend conditions of bond to allow contact between defendants

Boden and Dejager to assist in assessing certain financial transactions in preparation of sentencing.

The government has filed a response to the request. ECF No. 62.

        For good cause shown, the bond conditions for both defendants Boden and Dejager are

amended to lift the “no contact” restriction with each other. This Order does not apply to the others

named in paragraph 16 of the Appearance Bonds. Also, nothing in this Amended Order requires

Defendants Boden or Dejager to consult with each other; it simply permits them to do so.



Date:    October 20, 2021                     /s/ Robert J. Jonker
                                              ROBERT J. JONKER
                                              CHIEF UNITED STATES DISTRICT JUDGE
